Case 17-20625-A.]C Doc 59 Filed 02/23/18 Pagl{e 1 of 5
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRlC OF FLORIDA

www.t`lsb.uscourts.gov
CHAPTER 13 PLAN (lndividual Adjustment of Debts)

 

 

 

 

 

 

m Original Plan
]:] Aniended Plan (Indicate lst, an, etc. Amended, if applicable)
E] 2nd Modified Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: NORMA J. CHARLES JOINT DEBTOR: CASE NO.: l'i'-ZO()ZS-AJC
SS#Z x'xx-xx- 2060 SS#Z xxx-xx-
I. NOTICES
To chtors: Plans that do not comply with local rules andjudicial rulings may not be eonfirrnable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing thc chapter 13 petition or within 30 days of entry of the order convening the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph Vlll. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section lll, which may result in a
partial payment or no payment at all to the secured creditor

Avoidance of` a judicial lien or nonpossessory, nonpurchase-money security interest, set |:|
out in Section III

Nonstandard provisions, set out in Section Vlll |:| Included |:| Not included
II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR[S)' ATTORNEY'S FEE

|:| Included |:| Not included

 

Included |:l Not included

 

 

 

 

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit ol`the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

l. $433,33 for months; toL;
2. $l42,20 for months; tol;
3. for months_ to ;
B. DEBTOR(S)' ATTORNEY'S FEE: m NONE l:l PRO BONO
Total Fees: $0.00 Total Paid: $0.00 Balance Due: $0.00
Payable $0.00 fmonth (Months _ to _ )

Allowed fees under LR 2016-1(B)(2) are itemized below:

 

 

Applieations for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III. TREATMENT OF SECURE]) CLAIMS

A. S_EC_URED C_LA_IMS: |:I NONE

[Rctain Liens pursuant to ll U.S.C. §1325 (a)(S)] Mortgagc(s)fLien on Real or Personal Properly:

 

 

l- Creditc'1'10cwen Loan Servieing, LLC (servicer)

 

Addl'CSSZ Ofbf 0 HSBC Bal'lk USA, l'\rrearage,Jr Payol`l` on Pelilion Dalc SEE BELOW--'l`rial Period Plan Approved thru MMM
Eé;`t’;:l)n?§;:h‘t?l§;’ MMM Adequale Proleclion M tmonth (Months ; to L )
33416-4781 MMM TPP Temporary Payment SD.DU tmonlh (Months ? tai )

Last 4 Digits of
Account No.: 3859

 

 

 

l.I~`-3l (r::v_ lD.-'},"l?} Pagc l ol`§

 

CaSe 17_20625_A`JC Dcl}g:b§o?(s): §Hig[g?/(ZHH§ES Page 2 Of 5 Case numbcr: l?-20625-AJC

 

 

 

Other:
§ Real Property Check one below for Real Property:

§Principal Residence §Escrow is included in the regular payments

§Othcr Real Property §The debtor(s) will pay §taxes §insurance directly
Addrcss of Collateral:

16920 NW 361h Avcnuc, Miarni Gardcns, FL 33056

§ Personal PropertyNehiele

Description of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: § NONE

lF YOU ARE A SECURED CREDITOR LlSTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURlNG YOUR CLAlM lN THE AMOUNT lNDlCATED. A SEPARATE MOTlON WlLL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND I_.R 3015-3.

1. REAL PRoPERTY: § NONE

 

 

 

l. Creditor: Pl'OViHCiHl IHVeSUnemS, 1119 Value of Collateral: $165,000.00 Payl'fl€nt
Addrcss; 1497 NW 7th SU'€€L Miami, Alnount of` Creditor's Lien: $0.00 TOTHl Paid in Plani $0-00
FL 33125
Last 4 Digits of Account No.: none Intcrest Rate: 0.00% $0.00 inlonth (Months l to § )
Real Property Check one below:
§Principal Residence § Escrow is included in the monthly
|:|Other Real Property mortgage payment listed in this section
§ The debtor(s) will pay
Address of Collateral: t _
16920 NW seth Avcnuc, Miami Gardens, |:llax¢$ |I|IHS\HHHC€ dlr€€tly
FL 33056

 

 

 

 

 

 

2. vEmcLES(S): § NONE
3. PERSONAL PROPERTY: § NONE

C. LIEN AVO[DANCE § NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

§ NOle

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

§ NONE
IV. TREATMENT OF FEES AN]) PRIORITY CLAIMS [as defined in ll U.S.C. §50? and ll U.S.C. § l322(a)(4)]
A. ADMINISTRATWE FEES OTHER THAN DEBTORS(S]' A_TTORNEY'S_ FEE: § NONE
B. INTERNAL REVENUE SERVICE: § NONE
C. DOMEST|C SUPPORT oBLIGAHON(S): § NONE
D. OTHER: § NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $0.00 fmonth (Months l to 1 )

Pay $129.2? fmonth (Months ? tci )

Pay fmonth (Months to_ )

LF-3l (rev_ l[}r'3#’l?) Page 2 01`5

Case 17'20625'A‘JC Dcf§:b§o?($); §BUQ?G§AE{§ES Page 3 Of 5 Cascmunbcr; 1?-20625-AJC

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar datc.

 

B. § lf checked, the Debtor(s) will amendflnodif"y to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: § NONE

*chtor(s) certify the separate elassifieation(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to ll U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any erediton'lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

§ NONE
Vll. lNCOME TAx RETURNS AND REFUNDS: § NONE

§ The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. lMiami cases]

vm. N_o_N-srannasn P_L_AN P_sovtslons |j NONE

§ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

*chtor will pay secured creditor, HSBC Bank USA, N.A. (serviced by 0cwen Loan Servicing, LLC) ("HSBC"), having loan
number 20283859, outside the plan_ On 01fl?12018, Debtor was approved for a Trial Period Plan by HSBC after participating in
the Mortgage Modification Mediation (MMM) program (as described in the MMM language below). The Trial Period Plan
payments are $1,743.20 per month f`or three months and are due on 031'0112018, 04!0112018, and 051'011'2018. This overrides and
replaces thc adequate protection payment required in the first paragraph of the MMM language below. The remainder of the
MMM language below remains in forcc. Debtor will make the Trial Period Plan payments directly to HSBC in order to ensure
timely payments under the trial period to ensure eligibility for a permanent modification

*Crcditor, Provincial lnvcstments, Inc. docs not use account numbers to identify accounts, only borrower names, per Provincial
Investments, lnc. owner, Sheldon Palleyv Debtor confirmed this on November 29, 2017.

*lf the debtor receives gambling winnings during the pendency of the plan, the debtor shall turn over any gross winnings to the
Chapter 13 Trustee for the benth of the unsecured creditors

 

§ Mortgage Modifieation Mediation

LF-3l (rev_ 10r'3."1?) Page 3 01`5

Case 17'20625'A‘JC Dcf§:b§o?($); §BUQ?G§AE{§ES Page 4 Of 5 Cascmunbcr; 1?-20625-AJC

l The debtor has filed a Veri lied Motion for Referral to MMM with:
HSBC Bank USA, N,A. (serviced by 0cwen Loan Scrvicing, LLC) ("Lender")
loan number 20283859

 

 

 

f`or real property located at 16920 NW 36th Avenue, Miami Gardens, FL 33056

 

The parties shall timely comply with all requirements of the Order of Referral to MMM and all Adrninistrative Orderstocal
Rulcs regarding MMM. While the MMM is pending and until the trialfinterim payment plan or the permanent mortgage
modification!permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
by the trustee and not upon receipt by the lender.

Until thc MMM is completed and the Final Report of Mortgage Modification Mediator is tiled, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
of the plan or modified plan.

lf` the debtor, co-obligor)'co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
with Lendcr” (or Sclf-Reprcsentcd chtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
14 calendar days following settlement Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

lfa settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
necessary to complete the settlement.

In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

if the lender and thc debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
property will be “trcatcd outside the plan.” If` the property is “trcatcd outside the plan,” the lender will be entitled to in rem stay
relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
of Claim.

LF-3l (rev_ 10r'3."1?) Page 4 01`5

CaSe 17_20625_A`JC Dcl}g:b§o?(s): §Hig[g?/(ZHH§ES Page 5 Of 5 Case numbcr: l?-20625-AJC

 

PROPERTY OF TI'l'E ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
NORMA J. CHARLES D‘“e DH“=
Mandy L. Mills, Esq. 02)’23112018
Attomcy with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-3l (rev_ 10£3#’1?) Page 5 01`5

